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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
SCOTT SPEICHER, et al.,     :                           Civil No. 1:20-CV-00764
                            :
              Plaintiffs,   :
                            :
              v.            :
                            :
CHANCE RIDES MANUFACTURING, :
INC., et al.,               :
                            :
              Defendants.   :                           Judge Jennifer P. Wilson

                                             ORDER

       AND NOW, on this 12th day of November, 2021, because the parties in the

above-captioned action have notified the court that they have agreed to resolve this

case by settlement, IT IS ORDERED as follows:

       1.      All deadlines in this action are STAYED;

       2.      The Clerk of Court is ordered to mark this matter CLOSED for

administrative purposes only;

       3.      The parties shall file an appropriate stipulation of dismissal pursuant

to Federal Rule of Civil Procedure 41(a),1 which specifies whether the dismissal

will be with or without prejudice;


1
  Rule 41 contemplates three methods of dismissal. Before an answer or summary judgment
motion has been filed, an action can be dismissed by a notice of dismissal signed by the plaintiff
alone. See Fed. R. Civ. P. 41(a)(1)(A)(i). After an answer or motion for summary judgment has
been filed, the parties can dismiss a case by filing a stipulation of dismissal signed by all parties
who have appeared. See Fed. R. Civ. P. 41(a)(1)(A)(ii). Either of these filings operates to close
the case and end the court’s jurisdiction without further court action. For any dismissal that is
conditional or otherwise requires court approval, including, for example, a request that the court
                                                  1
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       4.      Either party may file a notice to reinstate this action if the settlement

is not consummated within sixty days of this order, provided that such notice is

filed no later than January 12, 2022; and

       5.       If the parties fail to timely file a stipulation of dismissal or notice to

reinstate this action within the sixty days, this order shall operate as a voluntary

dismissal with prejudice, based on the parties’ aforementioned notice of settlement.

See Papera v. Pa. Quarried Bluestone Co., 948 F.3d 607, 610–12 (3d Cir. 2020).



                                             s/Jennifer P. Wilson
                                             JENNIFER P. WILSON
                                             United States District Court Judge
                                             Middle District of Pennsylvania




retain jurisdiction for a specific period of time for enforcement of the settlement, the plaintiff
shall submit a motion to dismiss setting forth the requested terms for dismissal, accompanied by
a proposed order. See Fed. R. Civ. P. 41(a)(2).
                                                 2
